     Case 1:20-cv-03590-JEB     Document 488-1   Filed 03/26/25    Page 1 of 3




                          UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF COLUMBIA




FEDERAL TRADE COMMISSION,             Civil Action No.: 1:20-cv-003590-JEB

             Plaintiff,
                                      DECLARATION OF DAVID O’NEIL IN
     v.                               SUPPORT OF MOTION TO QUASH
                                      SUBPOENAS

META PLATFORMS, INC.,

             Defendant.
          Case 1:20-cv-03590-JEB          Document 488-1        Filed 03/26/25      Page 2 of 3



I, David O’Neil, declare as follows:

          1.   I am an attorney at Debevoise & Plimpton LLP, and am counsel for Nonparties Saral

Jain, David Levenson, Jacob Andreou, and Snap Inc. (“Snap”) in the above-captioned matter. I

submit this Declaration in support of the Motion to Quash Subpoenas. I have personal knowledge of

the facts set forth herein and am competent to testify thereto if called as a witness.

          2. On February 5, 2025, counsel for Meta sent trial subpoenas (“the Subpoenas”) to Messrs.

Levenson and Jain compelling their attendance at the upcoming trial.

          3. The Subpoenas also contained expansive and burdensome document requests. A true and

correct copy of Mr. Levenson’s subpoena is attached hereto as Exhibit A, and a true and correct copy

of Mr. Jain’s subpoena is attached hereto as Exhibit B.

          4. The Subpoenas request documents which are not in the possession, custody, or control of

Messrs. Levenson or Jain. Snap’s corporate policies prevent employees from accessing confidential

commercial material which falls outside the scope of their employment. For example, Section 10.1.1

of Snap’s Information Security Policy restricts personnel to access “only the sensitive data required

to perform their jobs,” and makes clear that Snap “adheres to principles of ‘need to know’ and ‘least

privilege.’”

          5. Employees are further instructed, pursuant to Snap’s Cybersecurity Policy, to not access

Snap resources without a legitimate business reason.

          6. Snap’s Employee Code of Conduct explicitly states that Snap treats “all of Snap’s non-

public information as confidential and we don’t disclose it to anyone outside the company without the

appropriate authorization. That includes everything from marketing plans to customer information to

financial information and metrics to internal reports and emails.”

          7. Pursuant to the Snap Employee Code of Conduct, Cybersecurity Policy, and Information

Security Policy, the Subpoenas request documents which Messrs. Levenson and Jain are not

permitted to access, able to access, or obtain access on demand. It would violate Snap policy for an

employee to attempt to access the data requested in the Subpoenas without a legitimate business

reason.



                                                   -1-
        Case 1:20-cv-03590-JEB          Document 488-1        Filed 03/26/25      Page 3 of 3



       8. On March 3, 2025, Messrs. Levenson and Jain formally responded and objected to the

Subpoenas. A true and correct copy of Mr. Levenson’s responses and objections are attached hereto

as Exhibit C, and a true and correct copy of Mr. Jain’s responses and objections are attached hereto

as Exhibit D. Meta has not modified, withdrawn, or moved to compel since Mr. Levenson and Mr.

Jain served their objections.

       9. On February 28, 2025, counsel for Meta sent a trial subpoena to Mr. Andreou compelling

his attendance at the upcoming trial. A true and correct copy of Mr. Andreou’s subpoena is attached

hereto as Exhibit E.



       I declare under penalty of perjury that the foregoing is true and correct. Executed this 26th

day of March, 2025, in Washington, D.C..


                                          By: /s/ David O’Neil
                                            David O’Neil (DC Bar No. 1030615)




                                                  -2-
